     Case 2:23-cv-02224-MSN-atc            Document 263    Filed 12/19/24     Page 1 of 6
                                           PageID 3063



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


RowVaughn Wells, Individually and as
Administratrix Ad Litem of the Estate of
Tyre Deandre Nichols, deceased,

       Plaintiff,
                                                           Case No.: 2:23-cv-2224
v.                                                         JURY DEMANDED

The City of Memphis, a municipality;
Chief Cerelyn Davis, in her official capacity;
Emmitt Martin III, in his individual capacity;
Demetrius Haley, in his individual capacity;
Justin Smith, in his individual capacity;
Desmond Mills, Jr., in his individual capacity;
Tadarrius Bean, in his individual capacity;
Preston Hemphill, in his individual capacity
Robert Long, in his individual capacity;
JaMichael Sandridge, in his individual capacity;
Michelle Whitaker, in her individual capacity;
DeWayne Smith, in his individual capacity and
as an agent of the City of Memphis,

       Defendants.


      DEFENDANT MICHELLE WHITAKER’S RESPONSE IN OPPOSITION TO
       PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT


       COMES NOW, Defendant Michelle Whitaker (hereinafter referred to as “Defendant

Whitaker”), by and through undersigned counsel of record, and submits this Response in

Opposition to Plaintiff RowVaughn Wells’ (hereinafter referred to as the “Plaintiff”) Motion for

Leave to File Amended Complaint (hereinafter referred to as the “Motion”). Defendant Whitaker

states to the Court as follows:
     Case 2:23-cv-02224-MSN-atc               Document 263          Filed 12/19/24        Page 2 of 6
                                              PageID 3064



                                       I.      INTRODUCTION

        While Fed. Civ. P. 15(a)(2) encourages courts to “freely give leave when justice so

requires,” courts have consistently held that undue delay, bad faith, repeated failure to address

deficiencies, undue prejudice, or futility of the proposed amendments warrant denial of such

motions. Here, Plaintiff’s Motion fails under multiple prongs of this standard. Plaintiff’s Motion

is untimely, coming well after the court-established deadline for amending pleadings and the close

of discovery.1 Allowing an amendment at this late stage – trial is scheduled to begin on March 24,

2025 – would unduly prejudice Defendant Whitaker, undermining her ability to fairly defend

against new factual allegations and claims. Additionally, Plaintiff’s proposed amendments are

futile as they provide no substantive change to the claims already set out in detail in the original

138-page complaint she filed.2 For these reasons, as further detailed below, Plaintiff’s Motion

should be denied.

                                     II.     LAW & ARGUMENT

        A. Motion for Leave to Amend Complaint

        Amendments to pleadings are governed by Fed. Civ. P. 15(a)(2), which states that “a party

may amend its pleading only with the opposing party's written consent or the court's leave,” and

that a “court should freely give leave when justice so requires.” However, a district court may

deny a motion to amend where there is “‘undue delay, bad faith or dilatory motive on the part of

the movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, futility of amendment,

etc.’” M.P.T.C. v. Nelson Cty. Sch. Dist., 192 F. Supp. 3d 798, 811 (W.D. Ky. 2016) (quoting


1
  See ECF. 111 – Scheduling Order deadline for amending pleadings expired on November 10, 2023. Also, ECF. 185
– Order Granting Plaintiff’s Unopposed Motion for Modified Scheduling Order; Second Amended Scheduling Order
–the deadline for completing all discovery expired on August 30, 2024.
2
  See ECF. 248-1 Proposed First Amended Complaint contains 144 pages.

                                                      2
       Case 2:23-cv-02224-MSN-atc            Document 263      Filed 12/19/24     Page 3 of 6
                                             PageID 3065



Foman v. Davis, 371 U.S. 178, 182 (1962)). Furthermore, courts may deny a motion to leave to

amend if they deem the proposed amendment futile. Kissinger v. Mahoning Cty. Republican

Party, 2023 U.S. Dist. LEXIS 105560, at *12 (N.D. Ohio June 16, 2023).

          B. Plaintiff’s Motion for Leave to Amend is Untimely

          Plaintiff’s request to amend the complaint at this late stage in the proceedings should be

denied because it is both very untimely and prejudicial. The Court’s original scheduling order set

a deadline for amending pleadings which expired on November 10, 2023,3 a deadline that expired

over one (1) year ago and which Plaintiff allowed to lapse without seeking leave to enlarge or

amend the deadline. Furthermore, the Second Amended Scheduling Order provided that discovery

closed on August 30, 2024, Plaintiff’s expert disclosures were due by September 2, 2024, and the

dispositive motion deadline was October 28, 2024.4 All of these deadlines have also now expired.

          Allowing Plaintiff to amend the complaint after the close of discovery and the expiration

of the dispositive motion deadline would unduly prejudice Defendant Whitaker. The Sixth Circuit

has recognized that significant prejudice exists where both discovery and dispositive motion

deadlines have passed. Olsen v. Regions Bank, 2010 U.S. Dist. LEXIS 62791, at *10 (W.D. Tenn.

2010) (citing Duggins v. Steak 'n Shake, Inc., 195 F.3d 828, 834 (6th Cir. 1999)).            More

specifically, in Duggins the Sixth Circuit stated that “[p]utting [a] defendant through the time

and expense of continued litigation on a new theory, with the possibility of additional

discovery, would be prejudicial.” 195 F.3d at 834 (emphasis added). The same rationale applies

here. Allowing Plaintiff to amend the complaint at this stage of the litigation would force

Defendant Whitaker to incur additional time and expense defending against newly raised factual




3
    See ECF 111 – Scheduling Order
4
    See ECF 185 – Second Amended Scheduling Order

                                                    3
    Case 2:23-cv-02224-MSN-atc             Document 263        Filed 12/19/24      Page 4 of 6
                                           PageID 3066



allegations and claims, effectively undermining all of the scheduling order deadlines, creating

great prejudice and the orderly administration and resolution of this case.

       C. Plaintiff’s Proposed Amendments are Futile and Would Unfairly Prejudice
          Defendant Whitaker

       Furthermore, permitting Plaintiff to amend the complaint at this stage, long after the

deadline to amend pleadings and the close of discovery, would unfairly prejudice Defendant

Whitaker. Defendant Whitaker has prepared her defense and engaged in discovery based on the

allegations contained in the original complaint. Plaintiff’s attempt to inject new factual allegations

and claims for liability at this stage would require more discovery, forcing Defendant Whitaker to

incur additional legal expenses and would prolong the resolution of this case. As the Sixth Circuit

noted in Olsen, “[a]t some point, the right to amend should be denied to avoid subjecting the

opposing party to repeated or prolonged litigation.” 2010 U.S. Dist. LEXIS 62791, at *10

(emphasis added). That point has been reached here. The additional time and resources required

to address new factual allegations would create a substantial and unjust burden on Defendant

Whitaker.

       Plaintiff’s Motion does not even attempt to demonstrate “good cause” as required by Fed.

R. Civ. P. 16(b), which is required because the scheduling order deadline for an amendment has

elapsed. The Sixth Circuit has held that “[t]he primary measure of Rule 16’s ‘good cause’ standard

is the moving party’s diligence in attempting to meet the case management order’s

requirements.” Inge v. Rock Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2002) (quoting Bradford v.

DANA Corp., 249 F.3d 807, 809 (8th Cir. 2001)) (emphasis added). Allowing Plaintiff to amend

her complaint would disrupt the existing case schedule and delay the resolution of this matter

because simply she failed to abide by the scheduling order deadlines and does not even attempt to

provide a convincing justification for this failure.


                                                  4
    Case 2:23-cv-02224-MSN-atc              Document 263      Filed 12/19/24      Page 5 of 6
                                            PageID 3067



       While Plaintiff’s proposed amendment is an attempt to incorporate testimony that was

given during recently concluded United States v. Bean criminal trial as the predicate for the

proposed amendment, this does nothing more than repackage allegations which already appear in

the original complaint with a few more details, but does not offer any substantive change to the

original complaint that could or might address deficiencies in the extant claims. In the initial

pleading, Plaintiff alleged unconstitutional policies and practices within the MPD and asserted that

these policies caused the constitutional violations which caused Mr. Nichols’ death. The proposed

amendment seeks to incorporate factual evidence from the United States v. Bean trial, such as

testimony regarding a purported “run tax,” “evidence manipulation”, and a “code of silence”

within the MPD. However, Plaintiff does not have to amend the complaint to proffer this proof at

trial. The proposed amendment does not substantively change or alter the core allegations, does

not change the legal framework of the case, or provide any new ground for relief. Accordingly,

the proposed amendment merely re-packages allegations that are already before the Court in the

original complaint.

                                     III.     CONCLUSION

        Based on the foregoing, Plaintiffs’ Motion for Leave to File First Amended Complaint

should be denied.




                                                 5
    Case 2:23-cv-02224-MSN-atc          Document 263       Filed 12/19/24        Page 6 of 6
                                        PageID 3068



                                            Respectfully submitted,

                                            SPENCE PARTNERS


                                    By:     /s/ Robert L.J. Spence, Jr.
                                            Robert L.J. Spence, Jr. (BPR #12256)
                                            Jarrett M.D. Spence (BPR#34577)
                                            Alexxas J. Johnson (BPR#40938)
                                            65 Union Avenue, Suite 900
                                            Memphis, Tennessee 38103
                                            Office: (901) 312-9160
                                            Facsimile: (901) 521-9550
                                            rspence@spencepartnerslaw.com
                                            jspence@spencepartnerslaw.com
                                            ajohnson@spencepartnerslaw.com

                                            Attorneys for Defendant Michelle Whitaker




                               CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of December, 2024, a true and correct copy of the
foregoing has been filed with the Court via the Court’s ECF system, and that upon filing, a copy
will be sent via the Court’s ECF system to all registered parties in the case.


                                                   /s/ Robert L.J. Spence, Jr.




                                               6
